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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division

        In re:
                                                          Case No.: 19-34574-KRH
                 LeClairRyan PLLC,
                                                          Chapter 7
                        Debtor


                 STIPULATION BY LYNN L. TAVENNER, AS TRUSTEE, REFLECTING
                 AGREED EXTENSIONS OF TIME WITH DESIGNATED FAO PARTIES

                 Lynn L. Tavenner, not individually, but solely in her capacity as the duly appointed

        Chapter 7 trustee (the “Trustee”) of the bankruptcy estate of LeClairRyan PLLC (the “Debtor”)

        in the above-referenced Chapter 7 case (the “Bankruptcy Case”), and the parties listed in

        Exhibit A attached hereto (collectively, the “FAO Parties”) hereby stipulate (the “Stipulation”)

        as follows:

                                                BACKGROUND

                 1.     On September 3, 2019, the Debtor filed a voluntary petition under Chapter 11 of

        Title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy

        Court for the Eastern District of Virginia, Richmond Division (the “Bankruptcy Court”).

                 2.     On October 4, 2019, the Debtor’s Bankruptcy Case was converted to a case under

        Chapter 7 of the Bankruptcy Code.

                 3.     Upon conversion, Lynn L. Tavenner was appointed interim trustee and, as no

        trustee having been elected at the meeting of creditors, she continues to serve as Trustee.

                 4.     On June 15, 2020, the Bankruptcy Court entered its Order Approving Procedures

        and Permitting Trustee to Prosecute and Compromise FAO Actions [Docket No. 533] (the “FAO

        Order”).




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                 5.    The procedures approved by the FAO Order authorize the Trustee to send demand

        letters (the “FAO Demands”) to former attorneys and others, including the FAO Parties. The

        FAO Order further requires that any recipient of such a demand letter may elect to participate in

        pre-complaint mediation (the “Pre-Complaint Mediation Election”), and that such election must

        be made within 14 days of the date of the demand letter.

                 6.    The FAO Order also states that within 60 days after the date of the Pre-Complaint

        Mediation Election, the parties must have commenced the mediation process by (a) selecting a

        mutually agreeable mediator, (b) having executed a mediation agreement, and (c) having

        scheduled a date for mediation (the “Mediation Commencement Deadline”). That Mediation

        Commencement Deadline falls on or around February 3, 2021 for several of the FAO Parties.

                 7.    Given that the parties identified in Exhibit A have entered into settlement

        discussions with the Trustee, including executing confidentiality agreements, the Trustee

        believes that a 45-day extension of the Mediation Commencement Deadline would be beneficial

        for the parties to continue negotiating a consensual resolution to the Trustee’s FAO Demands.

                 8.    Notwithstanding the progress made between the Trustee and the FAO Parties with

        respect to the FAO Demands, given intervening holidays, issues related to the COVID-19

        pandemic, and work schedules, additional time is needed to determine if there can be a

        consensual resolution without the assistance of a mediator.

                 9.    The Trustee and the FAO Parties believe that the 45-day extension of the

        Mediation Commencement Deadline is warranted under the unique circumstances surrounding

        these FAO Demands.




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                 10.    The Trustee believes that there could be similar basis for extending additional

        Mediation Commencement Deadlines and, as such, also respectfully submits a process to

        accomplish the same.

                                                STIPULATION

                 11.    With respect to the FAO Parties, the Mediation Commencement Deadline is

        extended by 45 days from the current Mediation Commencement Deadline. Without further

        order of this Bankruptcy Court, the Mediation Commencement Deadline may be extended for

        additional parties by the Trustee’s filing of supplemental Exhibits A to this Stipulation, listing

        additional individuals and relevant extended dates.

                 12.    Except as expressly stated herein, the terms of the FAO Order are not affected by

        this Stipulation.

                 IT IS SO ORDERED



        Date: ________________________                        ___________________________________
               Richmond, Virginia                             Honorable Kevin R. Huennekens
                                                              United States Bankruptcy Judge




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        I ask for this:


        /s/ Brittany J. Nelson
        Erika L. Morabito (VSB No. 44369)
        Brittany J. Nelson (VSB No. 81734)
        Jack G. Haake (VSB No. 87590)
        FOLEY & LARDNER LLP
        3000 K Street, NW, Suite 600
        Washington, DC 20007-5109
        (202) 672-5300 (telephone)
        (202) 672-5399 (facsimile)
        bnelson@foley.com

        Counsel to Lynn L. Tavenner, Esq.,
        Chapter 7 Trustee of Estate of LeClairRyan PLLC




                               CERTIFICATION OF ENDORSEMENT,
                            UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

               Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing
        proposed order has been endorsed by or served upon all necessary parties.


                                                             /s/ Brittany J. Nelson
                                                                Brittany J. Nelson

        Service List

        Lynn L. Tavenner, Chapter 7 Trustee                  S. Allan Adelman
        Tavenner & Beran, PLC                                128 Tanner Point Drive
        20 North 8th Street, 2nd Floor                       Stevensville, MD 21666
        Richmond, VA 23219

        Timothy Adelman                                      Philip Bonoli
        404 Queens Court                                     2101 Basswood Court
        Stevensville, MD 21666                               Westlake Village, CA 91361

        Corey R. Weber                                       Pete Zemanian
        Brutzkus Gubner                                      Zemanian Law Group
        c/o Philip Bonoli                                    c/o Neal Brodsky
        21650 Oxnard St., Suite 500                          223 E. City Hall Ave., Suite 201
        Woodland Hills, CA 91367                             Norfolk, VA 23510


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        David Dean                                            Michael Conway
        Cole Schotz P.C.                                      5 Thorne Place
        c/o Andrew Cole                                       Bridgeport, CT 06605
        500 Delaware Avenue, Suite 1410
        Wilmington, DE 19801

        Bernard Gehlhar                                       John P. Hutchins
        2613 Isabelle Avenue                                  2115 Howell Mill Road NW
        San Mateo, CA 94403                                   Atlanta, GA 30318

        Robert McWhorter                                      Clint Morse
        2313 Beckett Drive                                    Brooks Pierce
        El Dorado Hills, CA 95762                             c/o Clinton Morse
                                                              2000 Renaissance Plaza
                                                              230 North Elm Street
                                                              Greensboro, NC 27401

        John Pirko                                            Bruin Richardson
        12207 Cabin Creek Drive                               523 Sleepy Hollow Road
        Hanover, VA 23069                                     Richmond, VA 23229

        Ronald Sheff
        5902 Roland Avenue
        Baltimore, MD 21210




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                                             EXHIBIT A

                                             FAO Parties

                 FAO Party             Current Mediation          Stipulated Mediation
                                    Commencement Deadline       Commencement Deadline
        S. Allan Adelman           February 3, 2021            March 22, 2021

        Timothy Adelman            February 3, 2021            March 22, 2021

        Philip Bonoli              February 3, 2021            March 22, 2021

        Neal Brodsky               February 3, 2021            March 22, 2021

        Andrew Cole                February 3, 2021            March 22, 2021

        Michael Conway             February 3, 2021            March 22, 2021

        Bernhard Gehlhar           February 3, 2021            March 22, 2021

        John Hutchins              February 3, 2021            March 22, 2021

        Robert McWhorter           February 3, 2021            March 22, 2021

        Clinton Morse              February 3, 2021            March 22, 2021

        John Pirko                 February 3, 2021            March 22, 2021

        Bruin Richardson           February 3, 2021            March 22, 2021

        Ronald Sheff               February 3, 2021            March 22, 2021




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